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                                 UNITED STATES DISTRICT COURT
                                 FOR THE DISTRICT OF COLUMBIA
--------------------------------------------------------------X
UNITED STATES OF AMERICA,                                     :
                                                              : Case No. 21-CR-00133 (JDB)
                                                              :
                  v.                                          :
                                                              :
                                                              :
THOMAS FEE,                                                   :
                                                              :
                             Defendant.                       :
--------------------------------------------------------------X

                      DEFENDANT’S UNOPPOSED MOTION FOR
                      PERMISSION TO TRAVEL TO PITTSBURGH

       Defendant, Thomas Fee, through undersigned counsel, respectfully moves for permission

to travel to Pittsburgh, Pennsylvania on October 9, 2021 and to return to his residence in Long

Island, New York on October 11, 2021.

       In support of the motion, counsel states:

       1.      Mr. Fee is before the Court charged in a criminal information with four

misdemeanor offenses relating to the events in the United States Capitol on January 6, 2021. Mr.

Fee’s next appearance before the Court is scheduled for October 27, 2021.

       2.      On January 19, 2021, Mr. Fee voluntarily surrendered to law-enforcement and

later that day he was presented in the Federal Court in the Eastern District of New York for a

Rule 5(c)(3) hearing. Mr. Fee waived the identity hearing and was released on a fully secured

Appearance Bond of $100,000.00. On February 25, 2021 Mr. Fee made his initial appearance

before the Court and the same conditions of release were continued. Since January 19, 2021 Mr.

Fee has been monitored by the United States Pretrial Service Agency and he has been in full

compliance with all conditions of his release.

       3.      Mr. Fee would like to travel by commercial airline to Pittsburgh, Pennsylvania on


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October 9, 2021 and return to his Long Island, New York residence in the same manner on

October 11, 2021. The purpose of the trip is for Mr. Fee to attend an NFL game in Pittsburgh on

October 10, 2021.

          4.      Assistant United States Attorney Susan Lehr has informed the undersigned

counsel that she does not oppose the requested travel. Likewise, Mr. Fee’s United States Pretrial

Services Officer has informed the undersigned counsel that he has no objection to the requested

travel.

          Wherefore, undersigned counsel respectfully moves the Court to permit Mr. Fee to travel

to Pittsburgh, Pennsylvania on October 9, 2021 and to return to his residence in Long Island,

New York on October 11, 2021.



DATED:            September 19, 2021
                                                            Respectfully submitted,


                                                            /s/ Dennis J. Ring
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